       Case 1:98-cr-00038-JMS-MJD Document 54 Filed 07/14/15 Page 1 of 2 PageID #: 569
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                             Mark White                                    )
                                                                           )    Case No: 1:98CR00038-003
                                                                           )    USM No: 05671-028
Date of Original Judgment:                            12/10/1999           )
Date of Previous Amended Judgment:                    06/13/2003           )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)




    Due to the amount of cocaine and cocaine base involved in his case, Mr. White's guideline range was not lowered
    by the two-level reduction to the base offense level of drug offenses. As such, he is not eligible for a reduction in
    sentence pursuant to Amendment 782.




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.

IT IS SO ORDERED.
Order Date:        07/14/2015

                                                                                  ________________________________
Effective Date:                                                                   LARRY J. McKINNEY, JUDGE
                     (if different from order date)                               United States District Court
                                                                                  Southern District of Indiana
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 Distribution:

 Mark White
 Reg. No. 05671-028
 F.C.I. Terre Haute
 P.O. Box 33
 Terre Haute, IN 47808

 Melanie Conour
 UNITED STATES ATTORNEY'S OFFICE
 melanie.conour@usdoj.gov
